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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


WILLIAM DEMLER,

                 Plaintiff,

v.                                             CASE NO. 4:19cv94-RH-GRJ

MARK S. INCH, in his official capacity
as Secretary of the Florida Department of
Corrections,

                 Defendant.

___________________________/


                      ORDER DENYING A PROTECTIVE ORDER
                         FOR SCHEDULED DEPOSITIONS


        This is a proposed class action. The order of September 25, 2019 denied

class certification, but additional information has become available, and the

plaintiff has moved to amend the order denying certification. The motion to amend

the order is not yet fully briefed.

        In the meantime, the plaintiff intends to go forward with specific

depositions. The plaintiff apparently intends to ask questions relevant not only to

his individual claims but also to class issues. The defendant has moved for a




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protective order precluding class-related inquiries and to stay the depositions

pending a ruling on the motion for a protective order.

        This order denies the motion for a protective order on the merits and denies

the motion to stay as moot. Questions that the defendant believes relevant only to

class certification may be relevant to the plaintiff’s individual claims. More

importantly, class certification is now an open issue. Indeed, it is likely, though not

certain, that a class will be certified. The depositions may go forward on all issues

that remain open at that time.

        The plaintiff should not, however, read this order to establish open season on

the deponents. The scope of discovery, unless further limited by court order, is

this:

             Parties may obtain discovery regarding any nonprivileged matter
             that is relevant to any party’s claim or defense and proportional to
             the needs of the case, considering the importance of the issues at
             stake in the action, the amount in controversy, the parties’ relative
             access to relevant information, the parties’ resources, the
             importance of the discovery in resolving the issues, and whether
             the burden or expense of the proposed discovery outweighs its
             likely benefit.

Fed. R. Civ. P. 26(b)(1).

        Under Federal Rules of Civil Procedure 26(c) and 37(a)(5), the court “must”

order the party that loses on a motion for a protective order or the party’s attorney

or both to pay the opposing party’s reasonable expenses, including attorney’s fees,

with three exceptions. First, a moving party cannot recover expenses if the party

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filed the motion before attempting in good faith to resolve the dispute without

court action. Fed. R. Civ. P. 37(a)(5)(A)(i). Second, an award is improper if the

losing party’s position was “substantially justified.” Fed. R. Civ. P. 37(a)(5)(A)(ii).

And third, an award is improper if “other circumstances make an award of

expenses unjust.” Fed. R. Civ. P. 37(a)(5)(A)(iii). Unless one of these conditions is

met, an award of expenses is “mandatory.” Devaney v. Cont’l Am. Ins. Co., 989

F.2d 1154, 1162 (11th Cir. 1993) (citing Merritt v. Int’l Bhd. of Boilermakers, 649

F.2d 1013, 1019 (5th Cir. Unit A June 1981)). A position is “substantially

justified” if it results from a “genuine dispute, or if reasonable people could differ

as to the appropriateness of the contested action.” Pierce v. Underwood, 487 U.S.

552, 565 (1988) (citations, quotation marks, and brackets omitted); Devaney, 989

F.2d at 1163.

        Here the defendant’s position was substantially justified, and an award

of expenses would be unjust. This order does not award attorney’s fees.

        IT IS ORDERED:

        The motion to stay and for a protective order, ECF No. 84, is denied.

        SO ORDERED on December 2, 2019.

                                        s/Robert L. Hinkle
                                        United States District Judge




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